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 5   Attorneys for Plaintiff
     United States of America
 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:10-CR-255-TLN
12                                Plaintiff,             STIPULATION AND ORDER AMENDING
                                                         BRIEFING SCHEDULE AND CONTINUING
13                          v.                           MOTION HEARING DATE
14   FRENCH GULCH NEVADA MINING                          Court: Hon. Troy L. Nunley
     CORPORATION, ET AL.,
15
                                  Defendants.
16

17
            Whereas, the United States desires additional time to respond to defendant Kiedock Kim's
18
     motions to dismiss Counts One and Four of the Indictment. In particular, the undersigned prosecutor
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     desires additional time to consult with the United States Environmental Protection Agency case agent
20
     and Regional Enforcement Counsel regarding the preparation of the United States' response;
21
            It is hereby stipulated, by and between the parties, through their respective counsel, that the
22
     previously set briefing schedule shall be amended and the motion hearing date rescheduled as follows:
23
            1.      The United States shall have January 23, 2014, to file its response to the defense motion;
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            2.      Defendant Kim shall have until February 6, 2014, to file any reply in support of his
25
     motion; and
26
     ///
27
     ///
28

       STIPULATION AND ORDER AMENDING                     1
       BRIEFING SCHEDULE
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 1           3.      The hearing on defendant Kim's motion to dismiss shall be continued from January 16,
 2   2014, at 9:00 a.m., to February 20, 2014, at 9:00 a.m.
 3           DATED: December 26, 2013
                                                                     /s/       Malcolm Segal
 4
                                                             By:     MALCOLM SEGAL
 5
                                                                     Attorney for Defendant
 6                                                                   Kiedock Kim

 7           DATED: December 26, 2013                                BENJAMIN B. WAGNER
                                                                     United States Attorney
 8
                                                             By:     /s/       Samuel Wong
 9

10                                                                   SAMUEL WONG
                                                                     Assistant U.S. Attorney
11                                                                   Attorney for Plaintiff
12

13

14
                                                     ORDER
15

16           Based on the representations and stipulations of the parties, and good cause appearing therefrom,
17   the Court adopts the parties' stipulation in its entirety as its Order.
18           IT IS SO ORDERED.
19

20

21

22           Dated: December 27, 2013        ________________________________
                                                   TROY L. NUNLEY
23                                                 United States District Judge
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       STIPULATION AND ORDER AMENDING                        2
       BRIEFING SCHEDULE
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